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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                     11/5/2020
                                                                       :
PRISCILIANO CRISTOBAL BONIFACIO,                                       :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19-CV-11689 (JPC)
                  -v-                                                  :
                                                                       :          ORDER
NICK LUGO TRAVEL CORP. et al.,                                         :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The Court has reviewed Plaintiff’s letter-motion requesting a Local Rule 37.2 Conference,

dated November 3, 2020, (Dkt. 22), and Defendants’ reply letter, dated November 3, 2020, (Dkt.

23). It is hereby ORDERED that the fact discovery deadline is extended to December 21, 2020.

The parties are directed to meet and confer to attempt resolution of the instant discovery dispute.

If the parties are unable to resolve the dispute, the Plaintiff may refile a letter-motion requesting a

Local Rule 37.2 Conference.

        The Pretrial Status Conference scheduled for December 1, 2020, at 11:00 a.m. is hereby

adjourned to January 5, 2021, at 4:00 p.m.

        The Clerk of Court is respectfully directed to close the motion pending on Dkt. 22.

        SO ORDERED.

Dated: November 5, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
